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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 1:22-CR-00166-BAH
                                             :
JOHN GEORGE TODD III.,                       :
                                             :
               Defendant.                    :

     GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR TRIAL BY
                   MAGISTRATE JUDGE, ECF NO. 38

       The United States of America, by and through the United States Attorney for the District

of Columbia, hereby responds to the defendant’s Motion for Trial by Magistrate Judge. The United

States does not oppose the defendant’s motion. 1

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             DC Bar No. 481052


                                             By: /s/ Michael G. James
                                             MICHAEL G. JAMES
                                             Assistant United States Attorney
                                             N.Y. Registration Number 2481414
                                             Office of the United States Attorney
                                             Eastern District of North Carolina
                                             (on detail to the USAO-DC)
                                             150 Fayetteville Street, Suite 2100
                                             Raleigh, NC 27601
                                             Mike.James@usdoj.gov
                                             Telephone: (919) 856-4530




1
 The government is currently evaluating additional charges that may otherwise constitute
felonies.
